Case: 2:04-cv-01156-EAS-MRM Doc #: 361 Filed: 08/26/08 Page: 1 of 6 PAGEID #: 7644




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

RICHARD COOEY, et al.,

               Plaintiff,

       v.                                             Case No. 2:04-cv-1156
                                                      JUDGE GREGORY L. FROST
TED STRICKLAND, et al.,                               Magistrate Judge Mark R. Abel

               Defendants.

                                       OPINION AND ORDER

       This matter is before the Court pursuant to the Sixth Circuit’s July 8, 2008 Order

remanding the appeal of the preliminary injunction pertaining to Plaintiff Kenneth Biros. (Doc.

# 278.) In that Order, the court of appeals concluded that “the question of whether the

preliminary injunction should remain in effect following [Baze v. Rees, 128 S. Ct. 1520 (2008),]

is an issue that should be addressed initially by the district court” and remanded so that this

Court could consider whether the injunction “should be vacated in light of the Baze decision.”

(Doc. # 278, at 1-2.) The Sixth Circuit explained that the scope of the remand permitted this

Court to “schedule whatever briefing and hearing schedules it deems necessary for consideration

of this matter.” (Doc. # 278, at 2.)

       Arguably complicating this Court’s actions upon remand is the fact that following the

April 16, 2008 decision in Baze, the Sixth Circuit then issued the June 12, 2008 mandate related

to Cooey v. Strickland, 479 F.3d 412 (6th Cir. 2007). Defendants have since moved for

dismissal (Doc. # 295) of Biros’ case under Federal Rule of Civil Procedure 12(b)(6) on the

ground that the Sixth Circuit’s decision in Cooey requires dismissal of the 42 U.S.C. § 1983

claims asserted here based on the statute of limitations. Biros has filed a memorandum in
Case: 2:04-cv-01156-EAS-MRM Doc #: 361 Filed: 08/26/08 Page: 2 of 6 PAGEID #: 7645




opposition to that motion (Doc. # 312), and Defendants have filed a reply memorandum (Doc. #

321).

        The threshold issue is thus whether the remand permits the Court to consider only the

effect, if any, of Baze on the injunction or whether it permits the Court to consider the effect of

Baze, if any, within the context of the fact that the statute of limitations may have expired

pursuant to Cooey. In other words, does the remand require this Court to pretend that Biros’

case is not time barred (if it is) so that the Court can consider Baze issues that cannot apply to

Biros if his claims are beyond the statute of limitations?

        Logic demands that the answer to this question must be no. The appellate panel on the

Biros remand consisted of Circuit Judges Suhrheinrich, Siler, and Gilman. These exact same

judges constituted the appellate panel in Cooey. Although that latter panel was split in its

decision, the inescapable conclusion is that these judges of course knew what they had done in

Cooey when they issued the Biros remand and would not require this Court to analyze an

injunction issued in a potentially time-barred case. Thus, the remand necessarily encompasses

the preliminary issue of whether Biros has viable litigation to which Baze might apply. To

conclude otherwise would charge the court of appeals with being unaware of what it is doing so

that it is treating inconsistently litigants in the same district court proceeding who present the

same core issues. Although this Court has certainly seen evidence of inconsistent treatment in

this often curious litigation, it has not seen such treatment by the same appellate panel. The

Court therefore concludes that the learned appellate judges must have intended for this Court to

address Biros’ injunction within the full context of whether Baze is relevant, which means that

whether Baze even matters to Biros’ claims is within the scope of the remand. If there is no


                                                  2
Case: 2:04-cv-01156-EAS-MRM Doc #: 361 Filed: 08/26/08 Page: 3 of 6 PAGEID #: 7646




timely claim for Biros, as there was with Plaintiff Richard Cooey, then Baze does not matter.

But if Biros has a timely claim, then Baze may matter a great deal.

       This conclusion is necessarily limited to Biros. As the Court recently noted in its

Opinion and Order1 regarding the dismissal of Plaintiff Jeffrey Hill, the remand

       did not invalidate the Cooey statute of limitations and does not constitute on its
       face or implicitly instructions to conduct the factfinding Hill seeks on that issue.
       An inquiry under Baze focuses upon the merits of the § 1983 claims being
       advanced in this litigation, and the Biros remand permits this Court to reexamine
       the likelihood of success Biros has in light of the Supreme Court’s recent
       decision.

(Doc. # 344, at 14.) Accordingly, having thus concluded that the Sixth Circuit intended for this

Court to examine Biros and Baze in light of controlling precedent, this Court turns to the issue of

whether Biros’ claims are time barred so as to moot the potential application of Baze.

       As noted, this Court previously issued an Opinion and Order in this litigation that

discussed at length the Sixth Circuit’s construction in Cooey of the statute of limitations for such

§ 1983 claims. (Doc. # 344.) This Court noted in that prior decision that Cooey teaches that §

1983 claims of the sort asserted in this case begin to accrue upon conclusion of direct review in

the state courts and when a plaintiff knows or has reason to know about the act providing the

basis of his or her injury. Id. at 422. Even in light of recent changes to the lethal injection

protocol and the United States Supreme Court’s issuance of Baze–which, as noted, pre-dated

issuance of the Cooey mandate–the court of appeals issued Cooey as binding authority. This

circuit authority reasons that a plaintiff knew or had reason to know about the act providing the

basis of his or her injury when Ohio made lethal injection the exclusive method of execution in


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          The Court adopts and incorporates herein the entirety of that decision and attaches it to
the instant decision for ease of reference.

                                                  3
Case: 2:04-cv-01156-EAS-MRM Doc #: 361 Filed: 08/26/08 Page: 4 of 6 PAGEID #: 7647




December 2001. Consequently, review of the motion to dismiss briefing and the record indicates

that the following dates are relevant to the statute of limitations issue:

        (1) Date of Biros’s conviction and sentence: October 29, 1991.

        (2) Date the Ohio Supreme Court affirmed Biros’s conviction and sentence: May 14,

1997.

        (3) Month in which the time for filing a petition for certiorari with the United States

Supreme Court expired: August 1997.

        (4) Date the Sixth Circuit has held inmates like Biros should have been aware of their §

1983 lethal injection protocol claims: December 2001, at the latest.

        In light of the foregoing, this Court concludes that the rationale of Cooey does not render

Biros’ § 1983 claims untimely. The statute of limitations on these claims has therefore not

expired. Regardless of whether (1) the Court exempts out of the limitations calculation the

period when Biros was not under a sentence of death due to an initially successful habeas

petition that ultimately failed (perhaps exempting as much as from December 13, 2002 to

January 23, 2006) or (2) the Court holds that the limitations period did not even begin to run

until reversal of Biros’ habeas petition, the end result is the same: the two-year statute of

limitation did not expire prior to Biros’ October 18, 2006 motion to intervene.2 (Doc. # 95.)


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          It is important to note that the Sixth Circuit explained in Cooey that an inmate such as
Cooey (and therefore such as Biros) “should have known of his cause of action in 2001 after
amendments to the law required that he be executed by lethal injection, and the information was
publicly available upon request.” Cooey, 479 F.3d at 422. Crediting that analysis, this Court
calculates Biros’ statute of limitations–assuming arguendo that it did not restart entirely
following the reversal of his habeas petition–to have begun to run as of December 2001. This
Court recognizes that the Cooey majority left open the door for an accrual date in 1993 for the
knowledge component of the analysis, id., but in the absence of guidance by the appellate court,
this Court shall adhere to the date upon which the Sixth Circuit relied in Cooey.

                                                   4
Case: 2:04-cv-01156-EAS-MRM Doc #: 361 Filed: 08/26/08 Page: 5 of 6 PAGEID #: 7648




          Having concluded that Biros’ § 1983 case survives the threshold statute of limitations

challenge on the grounds discussed above, the Court need not and does not address his

alternative arguments that the Court did not previously consider and reject in its attached and

incorporated Opinion and Order. Thus, because Biros’s assertion of his § 1983 claims is not

time-barred, the Court must proceed under the remand to address the possible application of

Baze.

          Cognizant that the Sixth Circuit has instructed this Court to “schedule whatever briefing

and hearing schedules it deems necessary for its consideration of this matter” (Doc. # 278, at 2),

the Court therefore ORDERS:

          (1) The Court DENIES Defendants’ Motion to Dismiss. (Doc. # 295.)

          (2) The Court deems it necessary under the remand order to schedule an in-court hearing

beginning on December 15, 2008, at 9:00 a.m., on the application of Baze to the preliminary

injunction. This hearing shall include the presentation of evidence, including testimony if any

party so desires, and argument as to whether Baze proves dispositive of or otherwise informs to

any extent the injunction issue. The parties should be prepared to address whether under a Baze

inquiry Biros has a likelihood of success in this litigation so as to warrant continued injunctive

relief.

          (3) In order to facilitate this hearing, the Court orders that, by September 4, 2008

Defendants must turn over to counsel for Biros the entirety of its lethal injection protocol,

including but not limited to all information related to the training and qualifications of all

personnel involved in the execution process, as well as all techniques, practices, and equipment

employed in the execution process.


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Case: 2:04-cv-01156-EAS-MRM Doc #: 361 Filed: 08/26/08 Page: 6 of 6 PAGEID #: 7649




       (4) The parties shall identify their experts and all other witnesses by September 25, 2008.

       (5) The parties should complete all depositions related to the in-court hearing by October

24, 2008.

       (6) Biros shall file a brief in support of his preliminary injunction by November 14, 2008.

Defendants shall file a memorandum in opposition by November 28, 2008. Biros shall file a

reply memorandum by December 8, 2008.

       (7) The parties are advised that failure to comply with the discovery contemplated in this

Opinion and Order will result in the imposition of any applicable and appropriate potential

sanction.

       (8) In order to expedite discovery and avoid unnecessary delay, no party may file any

motion related to discovery without first contacting the Court by telephone in order to schedule a

status conference so that the Court can address the dispute directly and promptly.

       IT IS SO ORDERED.
                                                         /s/ Gregory L. Frost
                                                    GREGORY L. FROST
                                                    UNITED STATES DISTRICT JUDGE




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